Kasicky, Patricia

From:                                   Linda A. Kerns <linda@lindakernslaw.com>
Sent:                                   Sunday, November 15, 2020 11:04 PM
To:                                     bdupois@babstcalland.com; Meacham, Molly
Subject:                                Subpoena
Attachments:                            ready to serve PIPE subpoena.pdf



     ATTENTION: Email sent from outside Babst Calland.



Counsel:

On behalf of plaintiffs, I am arranging for service of Subpoenas to Appear and Testify, with the appropriate
witness fee, upon your client, Michael Pipe. If you are willing to accept service of the Subpoena on behalf of
any or all of these individuals, kindly advise me in writing of same. If you agree in writing to accept service,
and we have not already served, I will notify my process server that service has been accomplished.

Additionally, I made my best efforts to notify all counsel as currently listed on Pacer. To the extent I
inadvertently missed one of your client's attorneys, I ask that you forward the attachment to that counsel.

Kind regards,
Linda A. Kerns

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Linda A. Kerns
Law Offices of Linda A. Kerns, LLC | www.lindakernslaw.com |1420 Locust Street, Ste 200 | Philadelphia, PA 19102

T: 215.731.1400 | F: 215.701.4154 | Securely send me larger files via this
link https://www.hightail.com/u/lindakernslaw




                                                                       1
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Middle District
                                                       __________       of Pennsylvania
                                                                   District of __________

         Donald J. Trump for President, Inc. et al                             )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 4:20-cv-02078-MWB
                     Kathy Boockvar, et al                                     )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: Michael Pipe

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: US Federal Courthouse and Federal Building,                                          Courtroom No.: 1, Fourth Floor
         Williamsport, PA 17701
                                                                                            Date and Time: 11/19/2020 10:00 am

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   All documents and communications or other records related to any efforts to count and/or cure ballots by
                   communicating with the elector or otherwise where the ballot envelope lacked a date and/or signature
                   and/or name printed or written by hand and/or address printed or written by hand and/or a secrecy
                   envelope.


       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:       11/14/2020
                                   CLERK OF COURT
                                                                                               OR

                                                                                                               /s/ Linda A. Kerns
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)
    Donald J. Trump for President, Inc., et al                   , who issues or requests this subpoena, are:
Linda A. Kerns, Esquire, Law Offices of Linda A. Kerns, LLC, 1420 Locust Street, Suite 200, Philadelphia, PA 19102;
215-731-1400; lak@lindakernslaw.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
